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    Case 2:06-cv-07793-VBF-JWJ Document 60-5 Filed 01/10/2008 Page 3 of 16




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   Case 2:06-cv-07793-VBF-JWJ Document 66 Filed 01/10/08 Page 2 of 14 Page ID #:233
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             1                                    UNITED STATES DISTRCT COURT
             2                                 CENTRAL DISTRICT OF CALIFORN
             3    TI BEVERAGE GROUP, LTD., et aL. Case No. CV-06-7793 VBF (JWJx)
             4                    Plaintiffs, STIPULATION AN (PROPOSED)
             5           vs. JUGMENT                                             ORDER FOR ENTRYOF

             6    S.C. CRALE RECAS S.A., et aI.,
             7                    Defendants,
             8
                  AND RELATED CASE
             9

            10

            11          This Stipulation and (proposed) Order of                    Entry of Judgment ("Stipulation") is
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..= !l;:    12    entered into by and between TI BEVERAGE GROUP, LID., a Delaware Corporation
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            13    dba TRSYLVANIA IMPORTS , VAMIRE, INC., CUPID WINS, INC. and
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   := 8     14    MICHAL MACHAT, an Individual, (collectively "TI'I or the "TI paries"); and S.C.
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._.. ¡;     15    CRALE RECAS S.A., a Romanian company, PROVl SR, a Romanian
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       el   16.   Company; PIlIP COX, an Individual, and BASIL ZAROVEANU, an Individual
            17    (collectively "the RECAS parties").
            18                                                       RECITALS
            19

            20          A. WHREAS, tö avoid the uncertinty and expense of litigation, the TI
            21    paries and the RECAS paries (collectively, "the Paries") now desire to settle all

            22    matters related to the Complait and Counter-Claim by executing this Stipulation and

            23    request that the Cour entered the same as an order and judgment of the Court;

            24          B. WHREAS, the following allegations are provided merely to give
            25    context to this Stipulation and in order to effectuate settlement of the Complaint and

            26    Counter-Claim. The followig factual allegations mayor may not be tre. Any
            27    allegation made by the TI pares is disputed by the RECAS parties. Any allegation

            28    made by the RECAS paries is disputed by the TI pares.
                                                                             1
                                                   Stipulation and (Proposed) Order for Entr of Judgment
   Case 2:06-cv-07793-VBF-JWJ Document 66 Filed 01/10/08 Page 3 of 14 Page ID #:234
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                  1               C. WHREAS the TI paries have alleged that MACHAT though various
              2       entities, including TI Beverage Group, Ltd., has been selling beverages under the
              3       Vampire brand for close to twenty years;
              4                   D. WHREAS the TI parties have alleged that MACHAT is the owner of
              5       various Vampire related trad~marks thoughout the world, including amongst others,
              6       U.S. trademark registrations 2263907,3082097,2681906,3196399,3141345 for
              7       Vampire, Vampyre, Vamp, V ampire.com, Vamp icon respectively, and Canadian
              8       trademark         registrations TMA535141, TMA651914, and TMA662183 for Vampire,
              9       Vampyre and V with blood drop logo respectively.
             10                   E. WHREAS the TI paries have alleged that, beging in approximately
    '"
      .,     11       September of 1997, MACHAT began to use a V with a blood drop drpping off                     the V
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.. ",..      12       in Vampire as par of a design logo for his Vampire branded wines. i
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~ ~~         13                   F. WHREAS the TI paries have alleged that, on or about June 11,2001
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~:5 8 14              MACHAT, COX, and ZAROVEAN, entered into an thee-par agreement ("the
ãd'í:
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'--f;        15       Thee-Par Agreement") which provided, amongst other things, that MACHA T
~ =     os
      00.    16       would from time to time place orders for wine to be bottled under the VAMIR
             17       brand; COX via his winery would supply the wine bottled under the V AMIR brand
             18       to MACHA T or his designee; "and that PROVIN would bil MACHA T or his
             19       designee for the wine ordered.
             20                   G. WHREAS the TI paries have alleged that the Thee-Par Agreement
             21       also provided that the VAMIR brand was MACHA T' S propert thoughout the
             22       world; that the RECAS pares would not sell wie bearing the VAMIRE mark to
             23       anyone thoughout the world other than MACHA T or his designee; and that the
             24       RECAS paries would take all actions to protect MACHAT'S VAMIR brand
             25       thoughout the world.
             26                   H. WHREAS the TI paries have alleged that, in approximately 2002,
             27       MACHA T expanded his use of the V with blood drop by using it stading alone as a
             28       trademark for his V AMYR vodka in the U.S. and elsewhere.
                                                                                           2
                                                           Stipulation and (proposed) Order for Entr of Judgment
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    Case 2:06-cv-07793-VBF-JWJ Document 66 Filed 01/10/08 Page 4 of 14 Page ID #:235
                  C e 2:06-cv-07793-VBF-JWJ Document 60-5 Filed 01/10/2008 Page 6 of 16



                  1              I. WHREAS the TI paries have alleged that MACHA T has a pending
                 2     trademark application no. 78605786 for the V with blood drop design;
                 3               J. WHREAS the TI paries have alleged that, sometime in approximately
                 4    April of2005, RECAS began supplying wine to paries other than MACHAT (or
                 5    MACHA T's designees) that was branded with a V that sometimes had a blood drop
               6      dripping of        the V, and sometimes did                      not contain the blood drop drpping off           the V;
               7                K. WHREAS in December of 2006, TI BEVERAGE GROUP L TD dba
               8      TRASYLVAN IMPORTS and MICHAL MACHAT filed suit (Case No. CV-
               9      06-7793 VBF (JWJx) against the RECAS paries alleging breach of
                                                                                                                                the Three-Part
             10       Agreement, trademark infringement, and unawfl competition;

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         11                     L. WHREAS the RECAS paries filed a Counter-Claim against the TI
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     l;:     12       paries plus TRSYLVAN ThORTS, INC., CUPIDO,
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~ ci         13       P ATHW A YTODARSS.COM, and V A1IR.COM alleging breach of contract
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en ..
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   = 8       14       for failure to pay for goods had and received, breach of                                     the implied covenant of good
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fa e f 15. faith and fair dealing, intentional interference with contractual relations, fraud, and
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      rn    16        trade libel amongst other claims;
             17                 M. WHREAS PROVINU and BASIL ZAROVEANU allege the fiing
             18       of the Complaint agaist them was malicious and without any foundation because
            19        PROVI and BASIL ZAOVEAUN allege that they had no dealings
            20        whatsoever with the entities the TI pares allege infringe on their intellectual
            21        propert; and

            22                 N. WHREFORE, in consideration of                                        the mutual covenants and conditions
            23        contained and referenced here, the Pares agree as follows:

            24 I. ENTY OF JlGMENT
            25 A. TH RECAS PARTIES COVENAN
            26 1. Each of                          the RECAS paries and each oftheir agents and assigns agree to
            27 cease and desist from any of                         the followig:
            28 a. Using Vampire, Vampyre, Vampire Vineyards, Vamp, the Vamp
                                                                                             3
                                                           Stipulation and (proposed) Order for Entr of Judgent
    Case 2:06-cv-07793-VBF-JWJ Document 66 Filed 01/10/08 Page 5 of 14 Page ID #:236
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              1 icon, or any other word or words or marks which are confusingly similar to, or a
             2 colorable imitation of any of the                       aforementioned trade names and marks, either alone,
             3 as par of, or together with, any other word or words, trademark, serVice mark, trade

             4 name, or other business or commercial designation in connection with the sale,
             5 offering for sale, advertising, and/or promotion of                           beverage products and beverage
             6 accessories anywhere throughout the Wodd.

             7 b. Using t~e letter V, as a trademark, either alone, or with a blood

             8 drop, as par of, or together with, any other word or words, trademark, service mark,

             9 trade name, or other business or commercial designation in connection with the sale,
            10 offering for sale, advertising, and/or promotion of                           beverage products and beverage
    ., 11 accessories anywhere throughout Nort America.
ø. g;
j g¡ ~ 12 c. Representing directly or indiectly by words or conduct that any
= J: ~
~ ~: 13 beverage product or beverage accessory offered for sale, sold, promoted, or advertised
~ Eu
~ ~ 8' 14 by any of                 the RECAS pares, is authoried, sponsored by, endorsed by, or otherwise
š d.r¡
j § £ 15 connected with any of                           the TI paries.
~ =
      &3 16 2. As additional consideration for the Settlement Agreement, the RECAS

           17 paries agree to the following:
           18 a. Provide a complete accounting of al VAMIR labeled wine sold
           19 by the RECAS paries over the last theen month to any entities other than the TI
           20 parties uness an accounting has already been provided to the TI paries within six
           21 months from the date this                      judgment is entered;
           22 b. Imediately cease and desist from selling any VAMIRE labeled
           23 wine to any entity, anywhere thoughout the world, other than to TI or MACHAT.
           24 c. Destroy all dr goods including but not limited to labels, branded

           25 corks, boxes, and capsules that display any trademark of the TI paries such as
           26 VAMIR, CUPIDO or the VAM design and logo.
           27 d. Immediately cease and desist from selling any V labeled wine
           28 (regardless of              whether or not the V wine comes with or without a blood drop) to any
                                                                                  4
                                                         Stipulation and (Proposed) Order for Entr of Judgment
    Case 2:06-cv-07793-VBF-JWJ Document 66 Filed 01/10/08 Page 6 of 14 Page ID #:237
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                 1    entity for sale in Nort America.
                 2               3. The RECAS paries each agree that for any violation of its obligations
                 3    specified herein, the breaching par(ies) wil be obligated to pay the TI paries
                 4    liquidated damages in the amount of ten thousand dollars and no cents only
                 5    ($10,000.00) per incident plus one dollar and no cents only ($1.00) per bottle or dr
                 6    good as the case may be. The Paries expressly agree that said liquidated damages
                 7    constitutes a reasonable estimate of                    the ham such unauthoried conduct is likely to
                 8    cause the TI paries and should not be constred as an unenforceable penalty. The
             9       Paries fuer agree that, in case of a breach of this Agreement by any of the RECAS

            10       paries, the TI paries shall have the option of electing to seek actual damages in lieu


    '" ..   11       of liquidated damages.
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.. '" ..    12                  B. MICHAL MACHA T, TI BEVERAGES GROUP L TD dba
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            13       TRSYLVANIA IMPORTS, VAMIR, INC., and CUPID WINS, INC. hereby
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     8 14            agree to have judgment entered against them on the Counter-Claim in the amount of
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-_.. "'     15       five hundred and fift thousand dollars and no cents only ($550,000.00).
~ i:.. 00   16                 Based on the express representation of the TI paries that the following entities
            17       no longer or have never existed, the RECAS paries agree that they wil take nothng
            18       on their Counter-Clai against V ~IRE.COM, CUPIDO, TRSYL VANIA
            19       IMPORTS, INC., and P ATHW A YTODARSS.COM. Absent such an express
            20       representation of           the TI paries that these entities are not viable, the RECAS paries
            21       would have required that the foregoing monetary judgment apply to VAMIR,
            22       COM, CUPIDO, lRSYL VAN IMORTS. INC., and
            23       PATHAy:rODARSS.COM in addition to MICHAL MACHAT, CUPID
            24
                     WINS, INC.. VAMIR, INC. and TI BEVERAGES GROUP LID dba

            25
                     TRASYL VANI IMPORTS.

            26       ll. MISCELLANEOUS PROVISIONS
            27
                         Binding Effect. This Stipulation shall be binding upon the paries and the
                     paries' successors-in-interest.
            28
                                                                                       5
                                                             Stipulaton and (Proposed) Order for Entr of Judgment
    Case 2:06-cv-07793-VBF-JWJ Document 66 Filed 01/10/08 Page 7 of 14 Page ID #:238
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                            Entire Agreement This Stipulation constitutes the fial, complete, and
             2   exclusive statement of the terms of the Stipulation between the Paries pertainig to

             3   the subject matter of              the Stipulation and supersedes all prior and contemporaneous
             4   understadigs or agreements regarding the Stipulation only of the Paries.
             5             Modification of Stipulation. This Stipulation may be supplemented, amended,
             6   or modified only by mutual agreement of                            the paries. No supplemental, amendment,
             7   or modification of              this Stipulation shall be binding unless it is in writing and signed
             8   and notarized by all paries.
             9             Ambiguities. Each par and its counsel have participated fully in the review
            10   and revision of ths Stipulation. Any rule of constrction to the effect that ambiguities
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         11      are to be resolved against the drafting paries shall not apply in interpreting ths
ei ~ 12
.. II ..         Stipulation.
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r: .!! 1(   13             Waiver. No waiver of a breach, failure of a condition, or any right or remedy
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~;5 8' 14        contaied in or granted by the provisions of                             ths Stipulation shall be effective unless it
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.-.. ¡,          is in writing and signed by the par waiving the breach, failUre, right or remedy. No
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      00    16   waiver of any breach, failure, right, or remedy shall be deemed a waiver of any other
            17   breach, failure, right or remedy whether or not simlar, nor shall any waiver constitute
            18   a continuing waiver uness the writing so specifies.
            19             Heading:. The headigs in ths Stipulation are included for convenience only
            20   and shall neither affect the construction or interpretation of any provision in ths
            21   Stipulation nor affect any of                 the rights or obligations of          the paries to this Stipulation.
            22             Attorneys Fees. In any litigation, arbitration, or other proceeding by which one
            23   par either seeks to enforce its rights under ths Stipulation.(whether in contract, tort,
            24   or otherwse) or seeks a declaration of any rights or obligations under ths Stipulation,
            25   the prevailing part shall be awarded reasonable attorneys fees, together with any

            26   costs and expenses, to resolve the dispute and to enforce the final judgment.
            27

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                                                       Stipulation and (proposed) Order for ~ntr of Judgment
   Case 2:06-cv-07793-VBF-JWJ Document 66 Filed 01/10/08 Page 8 of 14 Page ID #:239
            Ca i06-cv-07793-VBF-JWJ Document 60-5 Filed 01/10/2008 Page 10 of 16



                1 No Third-Par Rights. This Stipulation is made solely for the banefit of
                                                                                                                                the
                2 Paries and their respective permitted successors and assigns, and no other person or

                3 entity shall have or acquire any right by virue of ths Stipulation.
            4 Jurisdiction. The Pares agree that ths Cour has and shall continue to have

            5 jursdiction to enter judgment both against and for them in this case. Any objections

            6 any part may have regarding this Cour's jurisdiction to enter judgment against them,
            7 if        any, are waived.
            8 Counterpars. This Stipulation may be executed in counterpars and all so
            9 executed, shall constitute an agreement which shall be binding upon all paries hereto,

           10 notwithstading that the signatue of the paries do not appear on the same page.
      -. 11 IT is SO STIPULATED.
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      ::   12       Dated: September 5,2007                                         WISTON & STR WN LLP


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                                                                                                Attmays for Defendants and
      00   16                                                                                   Cross-Claimants
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                                                                                                S.C. CRALE RECAS S.A.,
                                                                                                et aL.

           18
                    Dated: September _, 2007                                       CISLO & THOMAS LLP
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                                                                                   By:
           21                                                                                   Danel M. Cislo
                                                                                                Kelly W. Cunngham
           22                                                                                   Attom~ys for Plaintiffs and .
                                                                                                Cross-Defendats MICHAL
           23                                                                                   MACHA T., et aL.

           24
                   Dated: September _, 2007                                        By:
           25                                                                                   PHIIP COX
           26
                   Dated: September -- 2007                                        By:
           27                                                                                   BASIL ZAROVEANU
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                                                                                            7
                                                          Stipulation and (Poposed) Order for Entr of Judgment
     Case 2:06-cv-07793-VBF-JWJ Document 66 Filed 01/10/08 Page 9 of 14 Page ID #:240
            Case 2:06-cv-07793-VBF-JWJ Document 60-5 Filed 01/10/2008 Page 11 of 16



                 1 No Third-Par Rights. This Stipulation is made solely for the benefit of
                                                                                                                         the
                 2 Pares and their respective permittd successors and assigns, and no other person or

                 3 entity shall have or acquire any right by vie oftls Stipulation.

                 4 Jurisdiction. The Paries agree that this Court has and shall continue to have

                 5 jursdiction to enter judgment both agait and for them in this case. Any objections

                 6 any par may have regarding tls Cour's jursdiction to .enter judgment agaist them,
                7 if any, are waived.

                8 Counterpar. This Stipulation may be executed in counterpar and all so
                9 executed, shall constitute an agreement which shall be binding upon all paries hereto,
                10 notwthtadig that the signatue of the parties do not appear on the same page.
                11 IT is SO STIPULATED.
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                                                                                             Attm~s for Defendants and
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                                                                                             S.C. CRALE RECAS S.A.,
                                                                                             et aL.


                                                                                  CISLO & mOMAS LLP


                                                                                  By:




                                                                                 By:
                                                                                             PHIIP coX

                                                                                 By:
                                                                                             BASIL ZAROVEANU

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                                                         Stiulation and (proposed) Order for Entr of Judgment



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   Case 2:06-cv-07793-VBF-JWJ Document 66 Filed 01/10/08 Page 10 of 14 Page ID #:241
                C e 2:06-cv-07793-VBF-JWJ Document 60-5 Filed 01/10/2008 Page 12 of 16



                1 No Third-Par Rights. Ths Stipulation is made solely for the benefit of
                                                                                           the
            2 Pares and their respective permittd successors and assign, and no other person or
            3 entity shall have or acquire any right by vie of
                                                                                                    ths Stipulation.

            4 Jurisdiction. The Paries agee that ths Cour has and shall continue to have

            5 jurisdiction to enter judgment both against and for them in this case. Any objections

            6 any par may have regarding ths Cour's jursdiction to enter judgment again them,
            7 if any, are waived.

            8 Counterpar. This Stipulation may be executed in counterpar and all so.
            9 executed, shal constitute an agreement which sha be bindig upon all                                      pares hereto,
          10 notwthstdig that the signtue of                                      the pares do not appear on the same page.

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~ :: ~ 12 Dated: September 5, 2007
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                                                                                           Attom~s for Defendants and
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                                                                                           S.C. CRALE RECAS S.A.,
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                    Dated: September -' 2007                                        CISLO & lHOMAS LLP
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          24 Dated: September l-, 2007
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                    Dated: September -' 2007                                       By:                                                 !

          27                                                                               BASIL ZAROVEÅNU
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                                                         .. Stipuation and (Pposed Order for Entr pf Judgent
Case 2:06-cv-07793-VBF-JWJ Document 66 Filed 01/10/08 Page 11 of 14 Page ID #:242
          Case 2:06-cv-07793-VBF-JWJ Document 60-5 Filed 01/10/2008 Page 13 of 16




               1 No Thd-Par Rights. Ths Stipulation is made solely for the benefit of
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               2 Pares and their respctve permtt succssors and assign, and no other person or

               3 entity shall have or acqire any right by vire of
                                                                                                  ths Stipulation.

               4 Jurisdiction. The Pares agre that tls Cour has and shall contiue to have

               5 jurdiction to enter judgment both agai and for them in ths case. Any objections

               6 any par may have regarg ths Cour's jursdiction to enter judgment agaist them,
           7 if any, are waived

               8 Counterpar. Ths Stipulaton may be executed in counterpar and all so
           9 executed, shall constitute an agreement which shl be bindig upon al pares hereto,

           10 notwthandig tht the signatue of the pares do not appea on the same page.
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          12 Dated: September 5, 2007                                          WISTON & STRWN LLP
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                                                                                         S.C. CRALE RECAS S.A.,
                                                                                         et al'
          18 Dated: September -- 2007
                                                                               CISLO & mOMAS LLP
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                                                                               By:
          21                                                                             Daníel M. Clslo
                                                                                         Kelly W. Cugham
          22                                                                             Attm~ys for Plaitis and
                                                                                         Cross-Defendats MICHAL
          23                                                                             MACHT., et al.
          24
                  Dated: September -- 2007 By:
          25

          26 Dated: September O:t . 2007 By:
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                                                     __ Stipulon and (Ppose Order for Entr pf Judgment
    Case 2:06-cv-07793-VBF-JWJ Document 66 Filed 01/10/08 Page 12 of 14 Page ID #:243
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                  1   Dated: September 1-, 2007            By:
                  2
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                  4   Dated: September -- 2007             By:
                                                                     PROVlNUM SR. by. Basil
                  5                                                  Zamoveanu, Managing Director
                  6
                      Dated: September -- 2007             By:
                 7                                                   MlCHALMACHAT
                 8
                      Dated: September -- 2007             By:
               9                                                     TI BEVERAGE GROUP, LTD.
                                                                     byMICHALMACHAT
              10

     . -.     11      Dated: September -- 2007             By:
      Q\
~ ~                                                                  CUPID WINES, lNC .
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      :: .   12                                                      by MICHAL MACHAT
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  ..-'"
             13       Dated: September _, 2007             By:
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r.
~  ..a 6-                                                            VAMIR INC .
i: =d.!!B 14                                                         by MIëHL MACHAT
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      00     16       IT is SO ORDERED.
             17 On consideration of the Stipulaton between the TI pares and the RECAS
             18 pares, IT is HEREl3Y ORDERED that ths Stipulation will be adopted and entered
             19 into the records as ths Cour's Order and Judgment.
             20 Dated:                      , 2007
             21

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             23                                              JUGE OF TI D.S.D.C.
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Case 2:06-cv-07793-VBF-JWJ Document 66 Filed 01/10/08 Page 13 of 14 Page ID #:244
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                1    Dated: September _, 2007            By:
                2

                3

                4    Dated: September 01. 2007           By:
                5

                6
                     Dated: September -- 2007            By:
                7                                              MICHAL MACHAT
                8
                     Dated: September -- 2007           By:
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           16       IT IS SO ORDERED.
           17 On consideration of the Stipulaton between the TI pares and the RECAS
           18 pares, IT is HEREBY ORDERED that th Stipulation will be adopted and entered
           19 into the records as th Cour's Order and Judgment.

           20 Date:                        . 2007
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                5                                                         Zaroveanu, Managing Director
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       00      16    IT is SO ORDERED.
               17 On. consideration of the Stipulation between the TI pares and the RECAS
               18 paries, IT is HEREBY ORDERED that ths Stipulation wil be adopted and entered
               19 into the records as ths Cour's Order and Judgment.
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